
In re Fallin, Glenna C.; Disciplinary Counsel LSBA; — Plaintiffts); applying for petition for interim suspension.
ORDER
Considering the foregoing Joint Petition for Interim Suspension:
IT IS ORDERED, ADJUDGED AND DECREED that respondent, Glenna C. Fal-lin, attorney at law, be and hereby is, placed on interim suspension from the practice of law, said suspension to be effective immediately, and remaining in effect until further orders of this court.
The Office of Disciplinary Counsel is directed to institute appropriate disciplinary proceedings pursuant to Supreme Court Rule XIX, § 11.
LEMMON, J., not on panel. Rule IV, Part 2, § 3.
/s/ Catherine D. Kimball Justice, Supreme Court of Louisiana
